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                                          IN THE UNITED STATES DISTRICT COURT
                                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                    EASTERN DIVISION

BODYGUARD PRODUCTIONS, INC.,        )
                                    )
             Plaintiff,             )
                                    )                           Case No. 17-cv-7667
                           v.       )
                                    )                           Judge Robert M. Dow
DOES 1-25,                          )
                                    )
             Defendants.            )
____________________________________)
                                    )
DOE No. 23, ERNESTO MENDOZA,        )
                                    )
             Counter-Plaintiff,     )
                                    )
                           v.       )
                                    )
BODYGUARD PRODUCTIONS, INC.,        )
                                    )
             Counter-Defendant.     )
                                    )

    PLAINTIFF/COUNTER-DEFENDANT’S MOTION FOR VOLUNTARY DISMISSAL
            OF DOE NO. 23 AND FOR DISMISSAL OF COUNTERCLAIMS

              Bodyguard Productions, Inc., by and through its attorneys, Hughes Socol Piers Resnick &

Dym, Ltd., moves this court to voluntarily dismiss Doe No. 23 with prejudice pursuant to Rule

41(a)(2) of the Federal Rules of Civil Procedure, with each party bearing its own fees and costs,

and to dismiss Doe No. 23 Ernesto Mendoza’s (“Mr. Mendoza” or “Doe No. 23” or “Defendant”)1

counterclaims for the reasons set forth below.



       I.             INTRODUCTION

              Bodyguard Productions, Inc. originally filed this action based on information that Doe No.

                                                            
1
    Doe No. 23 is the subscriber assigned Internet Protocol address 24.12.111.84.
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23 illegally downloaded the mainstream movie The Hitman’s Bodyguard. Upon recently learning

that Doe No. 23 is reportedly experiencing end stage renal-failure, Plaintiff has elected not to

pursue its claims against this defendant. For this reason, and to conserve judicial resources and

prevent unnecessary expense by the parties, Plaintiff respectfully requests that this Court dismiss

with prejudice all of Bodyguard Productions, Inc.’s claims pending against Doe No. 23 in this

case. In addition, because this Court’s dismissal with prejudice of Bodyguard Productions, Inc.’s

claims would eliminate any actual case or controversy in this proceeding, Plaintiff asks that the

Court dismiss as moot Defendant’s counterclaims, which seek to dismiss Plaintiff’s complaint

without prejudice and obtain a declaration of non-infringement. Plaintiff wishes to dismiss Doe

No. 23 with prejudice, each side bearing its own fees and costs.



      II.     LEGAL STANDARD

            A plaintiff can voluntarily dismiss an action without a court order if the defendant has not

served an answer or motion for summary judgment, or by stipulation of both parties. Fed. R. Civ.

P. 41(a)(1). If a defendant has filed an Answer, “an action may be dismissed at the plaintiff's

request only by court order, on terms that the court considers proper.” Fed. R. Civ. P. 41(a)(2).

“It is the intent of Rule 41(a)(2) to prevent voluntary dismissals which unfairly affect the opposing

party.” Stern v. Barnett, 452 F.2d 211, 213 (7th Cir. 1971). “Rather than being a matter of right,

the allowance of a motion to dismiss under Rule 41(a)(2) is discretionary with the district court.”

Id.




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    III.      ARGUMENTS

              A. The Court Should Dismiss Plaintiff’s Claim with Prejudice
                   
           On October 24, 2017, Plaintiff filed its complaint. Dkt. 1. On November 9, 2017, Plaintiff

filed a Motion for Leave to Take Discovery Prior to Rule 26(f) Conference. Dkt. 9. On November

30, 2017, Plaintiff’s Motion for Leave to Take Discovery Prior to Rule 26(f) Conference was

granted and the initial status hearing was continued from December 12, 2017 to January 31, 2018.

On or about January 24, 2018, Plaintiff received a response to its subpoena from Comcast Cable

Communications Management, LLC which established that the subscriber assigned IP Address

24.12.111.84 on the date and time of infringement was Mr. Mendoza. The subpoena response also

provided Mr. Mendoza’s address. On or about February 13, 2018, and April 24, 2018, Plaintiff

sent demand letters to Mr. Mendoza. Each letter urged Defendant to contact Plaintiff’s counsel to

resolve this matter. Plaintiff’s practice is to contact Doe defendants in an attempt to resolve the

matter. While resolution may include a settlement, at times resolution involves dismissal after

obtaining information establishing that: (1) another individual in the home is the infringer; (2)

defendant did not have access to the relevant IP address; (3) defendant is experiencing financial

hardship; (4) defendant has serious health issues; or (5) defendant is in the military. However, in

this case, Mr. Mendoza never attempted to contact Plaintiff. On June 19, 2018, prior to Plaintiff

amending its complaint, naming a defendant, or serving any defendants with a summons and

complaint, Mr. Mendoza’s counsel filed an appearance, and an Answer with affirmative defenses

and counterclaims. Dkts. 26, 27.

           Since Defendant only just filed his Answer, no discovery has taken place. Indeed, no

depositions have occurred, discovery requests have not been exchanged, and thus Defendant has




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not spent any effort or expense in preparing for trial. Mandatory initial disclosures under the

Mandatory Initial Discovery Pilot (MIDP) are due July 18, 2018.

       In his Answer, Mr. Mendoza, for the first time disclosed his age and dire health situation.

Indeed, his Answer states that he is in his early 70’s and that he is currently out of the country

seeking last-ditch treatment for end-stage renal failure. (⁋2 Statement of Facts-Defendant’s

Counterclaim). Immediately upon learning this information, Plaintiff decided that dismissal was

appropriate.

       Here, Plaintiff seeks to dismiss this action against Mr. Mendoza because Plaintiff has no

intention of pursing a lawsuit against an elderly individual who is ill. It is worth noting that had

defense counsel contacted undersigned and explained Defendant’s health situation, Plaintiff would

have dismissed Defendant from this matter without consuming the Court’s time. Such a course of

action would have also obviated the need for the filing any Answer with affirmative defenses, and

Counterclaims.

        

           B. The Court Lacks Subject Matter Jurisdiction Over Defendant’s
              Counterclaim for Declaratory Judgment of Non-Infringement


       Defendant’s counterclaim seeks a declaratory judgment that he did not infringe Plaintiff’s

work through use of IP address 24.12.111.84 within the BitTorrent network. However, the Court

should dismiss Defendant’s declaratory judgment of non-infringement claim because upon

dismissal of Doe No. 23, the Court lacks subject matter jurisdiction over the claim. “Federal

courts are courts of limited jurisdiction.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S.

375, 377, 114 S. Ct. 1673, 1675, 128 L. Ed. 2d 391 (1994). “Article III, of course, gives the




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federal courts jurisdiction over only “cases and controversies,” and the doctrine of standing

serves to identify those disputes which are appropriately resolved through the judicial process.”

Whitmore v. Arkansas, 495 U.S. 149, 154–55, 110 S. Ct. 1717, 1722, 109 L. Ed. 2d 135 (1990).

               “The case or controversy requirement of Article III applies equally to declaratory

judgment actions.” Fatwallet, Inc. v. Best Buy Enter. Servs., No. 03 C 50508, 2004 U.S. Dist.

LEXIS 6153, at *4 (N.D. Ill. Apr. 12, 2004) (Reinhard, J.). “For a declaratory judgment to issue,

there must be a dispute which “calls, not for an advisory opinion upon a hypothetical basis, but

for an adjudication of present right upon established facts.” Ashcroft v. Mattis, 431 U.S. 171,

172, 97 S. Ct. 1739, 1740, 52 L. Ed. 2d 219 (1977). “A case becomes moot -- and therefore no

longer a “Case” or “Controversy” for Article III purposes -- “when the issues presented are no

longer ‘live’ or the parties lack a legally cognizable interest in the outcome.” Already, LLC v.

Nike, Inc., 568 U.S. 85, 133 S. Ct. 721, 723, 184 L. Ed. 2d 553 (2013).

              By the present motion, Plaintiff seeks dismissal of its infringement claim against Doe No.

23 with prejudice. By dismissing its claim with prejudice, Plaintiff is foregoing any claim with

respect to this infringement. The dismissal forecloses Plaintiff’s ability to bring a copyright suit

against Defendant for the alleged infringement. The dismissal acts as an adjudication on the merits

adverse to Plaintiff on that issue. See, e.g., Power Mosfet Techs., L.L.C. v. Siemens AG, 378 F.3d

1396, 1416 (Fed. Cir. 2004) (“The dismissal of a claim with prejudice ... is a judgment on the

merits under the law of the Federal Circuit.”)2. “[T]he primary issue in this case [is][…] whether

Defendant actually downloaded, used, and/or distributed Plaintiffs’ copyrighted materials without


                                                            
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  Under the doctrine of res judicata, a judgment on the merits in a prior suit bars a second suit involving the same
parties or their privies based on the same cause of action. Parklane Hosiery Co, Inc. v. Shore, 439 U.S. 322, 326, fn.
5 (1979).



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authorization to do so.” Interscope Records v. Kimmel, No. 3:07-cv-0108, 2007 U.S. Dist. LEXIS

43966, at *12 (N.D.N.Y. June 18, 2007). Accordingly, “[i]f Plaintiffs withdraw their claim [and

it has], there is no continuing threat lingering over Defendant […] [Therefore] […] there is no

continuing case or controversy.” Id. at *12. Here, “there is [simply] no reason to force [Plaintiff]

to defend a claim by Defendant arguing that he did nothing wrong.” Id. at *14-15. Indeed,

“[c]ountenancing such a theory for entertaining Defendant's counterclaim would open the

floodgates to endless potential litigation by persons seeking a declaration that [their] activities do

not violate another’s rights.” Id. Accordingly, upon the granting of Plaintiff’s motion to dismiss

its claim with prejudice, there will no longer be a “substantial controversy” between the parties of

“sufficient immediacy and reality” sufficient to form the basis for an Article III case or

controversy. See MedImmune, Inc. v. Genentech, Inc,. 549 U.S. 118, 126 (2007).

       Further, to survive the present motion to dismiss, Defendant must prove that the Court has

continuing jurisdiction to decide its counterclaim. Streck, Inc. v. Research & Diagnostic Sys., Inc.,

665 F.3d 1269, 1282 (Fed. Cir. 2012) (“The party seeking a declaratory judgment must establish

that jurisdiction ‘existed at the time the claim for declaratory relief was filed and that it has

continued since.’”) (quoting Benitec Aust., Ltd. v. Nucleonics, Inc., 495 F.3d 13401 1343 (Fed.

Cir. 2007)). Defendant cannot prove there is a continuing case or controversy as to its non-

infringement counterclaim because Plaintiff no longer seeks to assert (and will not be able to

reassert) its copyright infringement claim against Defendant. See Streck, Inc., 665 F.3d at 1281-

82 (holding that declaratory judgment counterclaims did not survive as to claims no longer being

asserted).

       As such, given the strong precedent to dismiss a party’s counterclaims when the underlying

claim has been dismissed, Plaintiff requests that this court dismiss defendant’s counterclaims.



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“District courts have dismissed counterclaims under the Declaratory Judgment Act where they

have   found    them    to   be   repetitious   of   issues   already    before   the   court   via

the complaint or affirmative defenses.” Ortho-Tain, Inc. v. Rocky Mountain Orthodontics, Inc.,

No. 05 C 6656, 2006 WL 3782916, at *3 (N.D. Ill. Dec. 20, 2006) (Leinenweber, J.); see e.g.

Tenneco Inc. v. Saxony Bar & Tube, Inc., 776 F.2d 1375, 1379 (7th Cir. 1985) (“The label

‘counterclaim’ has no magic. What is really an answer or defense to a suit does not become an

independent piece of litigation because of its label.”); Rayman v. Peoples Sav. Corp., 735 F. Supp.

842, 852 (N.D. Ill. 1990) (Shadur, J.) (Court dismissed a counterclaim that because it sought no

affirmative relief and struck 6 of the 8 affirmative defenses.); Malibu Media, LLC v. John Doe.,

13-c-3648 (N.D. Ill. June. 9, 2014) (Kennelly, J.) (dismissing counterclaims that “add nothing to

the affirmative defenses” and “do not present an independent case or controversy that would

survive a dismissal of Plaintiff’s infringement claim.”); Atl. Recording Corp. v. Serrano, No. 07-

CV-1824 W (JMA), 2007 U.S. Dist. LEXIS 95203, at *11 (S.D. Cal. Dec. 27, 2007) (“Numerous

courts have dismissed declaratory relief counterclaims in electronic copyright infringement actions

where the question of whether defendant infringed plaintiff's rights will be decided by plaintiff's

claim.”). This is because, in those cases, “Defendant seeks no relief in his counterclaim other than

that which would have the opposite effect of the relief sought in the Complaint. As such, [the]

counterclaim is redundant and unnecessary.” Malibu Media, LLC v. Batz, Civil Action No. 12-cv-

01953-WYD-MEH, 2013 U.S. Dist. LEXIS 84709, at *10 (D. Colo. May 17, 2013)). (Court

dismissed defendant’s counterclaim after plaintiff dismissed complaint because the dismissal of

trademark infringement claims deprived the court of jurisdiction over defendant’s counterclaim.)

Ciber, Inc. v. Ciber Consulting, Inc. 326 F.Supp.2d 886 (N.D. Ill. 2004) (Gettleman, J.).




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       Here, Defendant’s counterclaim fails as a matter of law and must be dismissed as an

inappropriate “repackaging” of his initial denial of infringement. Specifically, Defendant’s

counterclaim is nothing more than a denial of infringement and must be dismissed because it added

nothing more to the underlying lawsuit, which Plaintiff is already moving to dismiss.

           C. Defendant’s Second Counterclaim Should be Dismissed as Improperly

               Pleaded

       Defendant’s second counterclaim suggesting Plaintiff’s complaint should be dismissed

because it fails to comply with Fed. R. Civ. P. 4(m) should be dismissed as having been

improperly pleaded. “…a “violation of a Federal Rule of Civil Procedure does not give rise to an

independent cause of action,” KRW Sales, Inc. v. Kristel Corp., 154 F.R.D. 186, 188 (N.D. Ill.

1994) (Conlon, J.). “[a] counterclaim differs from an answer or affirmative defense.

A counterclaim is used when seeking affirmative relief, while an answer or affirmative defense

seeks to defeat a plaintiff's claim.” Philadelphia Indem. Ins. Co. v. Chicago Title Ins. Co., 771

F.3d 391, 401 (7th Cir. 2014) “The affirmative defense is a descendant of the old plea of

“confession and avoidance,” whereby a defendant admits the plaintiff's prima facie case, and

then alleges additional material that defeats the plaintiff's cause of action.” Bd. of Trustees of

Leland Stanford Junior Univ. v. Roche Molecular Sys., Inc., No. C 05-04158 MHP, 2007 WL

608009, at *9 (N.D. Cal. Feb. 23, 2007). “To qualify as a claim for affirmative relief, a

defensive pleading must allege that the defendant has a cause of action, independent of

the plaintiff's claim, on which he could recover benefits, compensation or relief, even though

the plaintiff may abandon his cause of action or fail to establish it.” Arnold v. Garlock Inc., 288

F.3d 234, 237 (5th Cir. 2002).




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       In the present case, under Fed. R. Civ. P. 4(m), failure to serve a defendant within 90

days of filing a complaint may result in the dismissal of plaintiff’s complaint without prejudice

unless the plaintiff shows good cause for the failure of service. As noted above, a

successful affirmative defense renders plaintiff's claims void, whereas a successful counterclaim

allows recovery by Defendant. The requested remedy by Defendant, dismissing Plaintiff’s

complaint without prejudice, would not provide for successful recovery by Defendant, and

should this be treated as an affirmative defense and not as a counterclaim. Therefore,

Defendant’s second counterclaim should be stricken as not properly pleaded before this Court.



           D. Each Party Should Bear Own Fees and Costs

       Normally, a defendant would be happy to accept a plaintiff’s offer to dismiss its claims

with prejudice. In this case, however, despite receiving such an offer from Plaintiff, defense

counsel has refused to accept a dismissal with prejudice and instead has claimed a desire to

continue litigation. In his counterclaims, Defendant lists cases where defendants have obtained

attorney fees in copyright infringement cases including Elf-Man LLC v. Lamberson, 13-cv-395

(E.D. Wa.); Cobbler Nevada, LLC v. Gonzales, 15-cv-866 (D. Or.); ME2 Productions v. Sheldon,

17-cv-158 (D. Or.); Clear Skies Nevada v. Hancock, 15-cv-6708 (N.D. Ill.); Criminal Productions

Inc. v. Cordoba, 16-cv-2704; Fathers and Daughters Nevada, LLC v. Zhang; 16-cv-1443 (D. Or.).

This is the real reason defense counsel is opposing the dismissal of all claims against her client

with prejudice. Counsel for defendant is merely seeking attorney fees by prolonging litigation as

long as possible.




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       Since Defendant cannot demonstrate that an actual case or controversy remains to provide

this Court with jurisdiction to hear Defendant’s counterclaims, Defendant’s counterclaims should

be dismissed and both sides should bear their owns fees and costs.

       WHEREFORE, Plaintiff respectfully requests this Court to voluntarily dismiss Doe No. 23

with prejudice and to dismiss Doe No. 23’s counterclaims with prejudice, each side bearing its

own fees and costs.

                                            Respectfully submitted,
Dated: July 6, 2018                         BODYGUARD PRODUCTIONS, INC.


                                            By:     s/Michael A. Hierl             _
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                                CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing
Plaintiff/Counter-Defendant’s Motion for Voluntary Dismissal of Doe No. 23 and for Dismissal
of Counterclaims was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on July 6, 2018.


                                                       s/Michael A. Hierl




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